           Case 4:11-cv-02084-CCC Document 8 Filed 02/21/12 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA

MICHELLE REICHENBACH                   :     No. 11cv2034
        Plaintiff                      :     Judge Jones
    v.                                 :
MONARCH RECOVERY                       :
MANAGEMENT, INC.                       :
        Defendant


DAVID MANTZ                            :     No. 11cv2084
        Plaintiff                      :     Judge Jones
    v.                                 :
MONARCH RECOVERY                       :
MANAGEMENT, INC.                       :
        Defendant



                                      ORDER

      AND NOW this 21st day of February, 2012, pursuant to the Stipulation to

Consolidate (doc 12) said stipulation and all the contents thereof are APPROVED.

IT IS HEREBY ORDERED THAT:

      1.      The Clerk of Court is directed to consolidate 11cv2084 into

              11cv2034.

      2.      The Clerk of Court shall close 11cv2084.

                                       s/ John E. Jones III
                                       John E. Jones III
                                       United States District Judge
